 Case 3:22-cv-02030-MMA-WVG Document 1 Filed 12/22/22 PageID.1 Page 1 of 20



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10
11                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF CALIFORNIA
12
13
      EMIR BALANZAR, individually and on CASE NO: '22CV2030 MMA WVG
14
      behalf of others similarly situated,
15                                         CLASS ACTION
                          Plaintiff,
16
                                           COMPLAINT FOR DAMAGES FOR
17    vs.                                  VIOLATIONS OF:
18
                                                 1. THE WIRETAP ACT, 18 U.S.C. §
19                                                  2510 ET SEQ
      HP INC.,
20
                                                 2. THE CALIFORNIA INVASION OF
21                            Defendant.            PRIVACY ACT, CAL. PEN. CODE
                                                    § 631
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23                                               JURY TRIAL DEMANDED
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     Class Action Complaint
 Case 3:22-cv-02030-MMA-WVG Document 1 Filed 12/22/22 PageID.2 Page 2 of 20



1                                           INTRODUCTION
2    1.      Emir Balanzar (“Plaintiff”), individually and on behalf of all other similarly
3            situated consumers (“Class Members”), brings this action for damages and
4            injunctive relief against HP Inc. (“Defendant”), and its present, former, or future
5            direct and indirect parent companies, subsidiaries, affiliates, agents, related
6            entities for violations of the Federal Wiretap Act, 18 U.S.C. §2510 et seq (the
7            “Wiretap Act”) and the California Invasion of Privacy Act (“CIPA”), Cal. Pen.
8            Code § 631, in relation to the unauthorized interception, collection, recording,
9            and dissemination of Plaintiff’s and Class Members’ communications and data.
10   2.      The Federal Legislature passed the Wiretap Act to protect the privacy of the
11           people of the United States. The Wiretap Act is very clear in its prohibition
12           against intentional unauthorized taping or interception of any wire, oral, or
13           electronic communication. In addition to other relevant sections, the Wire Tap
14           Act states that any person that;
15                   “intentionally intercepts, endeavors to intercept, or procures any
                     other person to intercept or endeavor to intercept, any wire, oral,
16                   or electronic communication” has violated the act. 18 U.S.C.
17                   §2511.
18   3.      The California State Legislature passed CIPA to protect the right of privacy of
19           the people of California. The California Penal Code is very clear in its prohibition
20           against unauthorized tap or connection without the consent of the other person:
21                   “Any person who, by means of any machine, instrument, or
                     contrivance, or any other matter, intentionally taps, or makes any
22                   unauthorized connection . . . with any telegraph or telephone
23                   wire, line, cable, or instrument, including the wire, line, cable.
                     Or instrument of any internal telephonic communication system,
24                   or who willfully and without consent of all parties to the
25                   communication, or in any unauthorized manner, reads, or
                     attempts to read, or to learn the contents or meaning of any
26                   message, report, or communication while the same is in transit
27                   or passing over any wire, line, or cable, or is being sent from, or
                     received at any place within this state [violates this section].”
28                   Cal. Penal Code § 631(a).
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     Class Action Complaint
 Case 3:22-cv-02030-MMA-WVG Document 1 Filed 12/22/22 PageID.3 Page 3 of 20



1    4.      This case stems from Defendant’s unauthorized interception and connection to
2            Plaintiff’s and Class Members’ electronic communications through the use of
3            “session replay” spyware that allowed Defendant to read, learn the contents of,
4            and make reports on Plaintiff’s and Class Members’ interactions on Defendant’s
5            website.
6    5.      Plaintiff brings this action for every violation of the Wiretap Act which provides
7            for statutory damages of the greater of $10,000 or $100 per day for each violation
8            of 18 U.S.C. §2510 et seq under 18 U.S.C. §2520.
9    6.      Plaintiff also brings this action for every violation of California Penal Code § 631
10           which provides for statutory damages of $5,000 for each violation, pursuant to
11           California Penal Code § 637.2.
12   7.      As discussed in detail below, Defendant utilized “session replay” spyware to
13           intercept Plaintiff’s and the Class Members’ electronic computer-to-computer
14           data communications, including how Plaintiff and Class Members interacted with
15           the website, mouse movements and clicks, keystrokes, search items, information
16           inputted into the website, and pages and content viewed while visiting the
17           website. Defendant intentionally tapped and made unauthorized interceptions and
18           connections to Plaintiff and Class Members’ electronic communications to read
19           and understand movement on the website, as well as everything Plaintiff and
20           Class Members did on those pages, e.g., what Plaintiff and Class Members
21           searched for, looked at, the information inputted, and clicked on.
22   8.      Defendant made these unauthorized interceptions and connections without the
23           knowledge or prior consent of Plaintiff or Class Members.
24   9.      The “session replay” spyware utilized by Defendant is a sophisticated computer
25           software that allows Defendant to contemporaneously intercept, capture, read,
26           observe, re-route, forward, redirect, and receive Plaintiff’s and Class Members’
27           electronic communications.

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     Class Action Complaint
 Case 3:22-cv-02030-MMA-WVG Document 1 Filed 12/22/22 PageID.4 Page 4 of 20



1    10.     “Technological advances[,]” such as Defendant’s use of “session replay”
2            technology, “provide ‘access to a category of information otherwise unknowable’
3            and ‘implicate privacy concerns’ in a manner different from traditional intrusions
4            as a ‘ride on horseback’ is different from a ‘flight to the moon.’” Patel v.
5            Facebook, Inc., 932 F.3d 1264, 1273 (9th Cir. 2019) (quoting Riley v. California,
6            573 U.S. 373, 393 (2014)).
7    11.     Jonathan Cherki, the CEO of a major “session replay” spyware company – while
8            discussing the merger of his company with another “session replay” provider –
9            publicly exposed why companies like Defendant engage in learning the contents
10           of visits to their websites: “The combination of Clicktale and Contentsquare
11           heralds an unprecedented goldmine of digital data that enables companies to
12           interpret and predict the impact of any digital element – including user
13           experience, content, price, reviews and product – on visitor behavior[.]”1 Mr.
14           Cherki added that, “this unique data can be used to activate custom digital
15           experiences in the moment via an ecosystem of over 50 martech partners. With a
16           global community of customer and partners, we are accelerating the
17           interpretation of human behavior online and shaping a future of addictive
18           customer experience.”2
19   12.     Unlike typical website analytics services that provide aggregate statistics, the
20           session replay technology utilized by Defendant is intended to record and
21           playback an individual browsing session, as if someone is looking over Plaintiff’s
22           or a Class Member’s shoulder when visiting Defendant’s website. The
23           technology also permits companies like Defendant to view the interactions of
24           visitors on Defendant’s website in live, real-time.
25   13.     The purported use of “session replay” technology is to monitor and discover
26           broken website features; however, the extent and detail collected by users of the
27
     1
       https://www.prnewswire.com/news-releases/contentsquare-acquires-clicktale-to-create-the-definitive-global-leader-in-
28   experience-analytics-300878232.html
     2
       Id
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     Class Action Complaint
 Case 3:22-cv-02030-MMA-WVG Document 1 Filed 12/22/22 PageID.5 Page 5 of 20



1               technology, like Defendant, far exceeds the stated purpose and Plaintiff’s and
2               Class Members’ expectations when visiting websites like Defendant’s. The
3               technology not only allows the tapping and unauthorized connection of a visitor’s
4               electronic communication with a website, but also allows the user to create a
5               detailed profile for each visitor to the site.
6    14.        Moreover, the collection and storage of page content may cause sensitive
7               information and other personal information displayed on a page to lead to third
8               parties. This may expose website visitors to identity theft, online scams, and other
9               unwanted behavior.
10   15.        In 2019, Apple warned application developers using “session replay” technology
11              that they were required to disclose such action to their users, or face being
12              immediately removed from the Apple Store: “Protecting user privacy is
13              paramount in the Apple ecosystem. Our App Store Review Guidelines require
14              that apps request explicit user consent and provide a clear visual indication when
15              recording, logging, or otherwise making a record of user activity.”3
16   16.        Consistent with Apple’s concerns, countless articles have been written about the
17              privacy implications of recording user interactions during a visit to a website,
18              including:
19              (a) The Dark Side of ‘Replay Sessions’ That Record Your Every Move Online,
20                  located      at    https://www.wired.com/story/the-dark-side-of-replay-sessions-
21                  that-record-your-every-move-online/;
22              (b) Session-Replay Scripts Disrupt Online Privacy in a Big Way, located at
23                  https://www.techrepublic.com/article/session-replay-scripts-are-disrupting-
24                  online-privacy-in-a-big-way/;
25              (c) Are Session Recording Tools a Risk to Internet Privacy? located at
26                  https://mopinion.com/are-session-recording-tools-a-risk-to-internet-privacy/
27   ///
28   3
         https://techcrunch.com/2019/02/07/apple-glassbox-apps/
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     Class Action Complaint
 Case 3:22-cv-02030-MMA-WVG Document 1 Filed 12/22/22 PageID.6 Page 6 of 20



1            (d) Session Replay is a Major Threat to Privacy on the Web, located at
2                https://www.itnews.com.au/news/session-replay-is-a-major-threat-to-
3                privacy-on-the-web-477720;
4            (e) Popular Websites Record Every Keystroke You Make and Put Personal
5                Information     and     Risk,    located     at   https://medium.com/stronger-
6                content/popular-websites-record-every-keystroke-you-make-and-put-
7                personal-information-at-risk-c5e95dfda514; and
8            (f) Website Owners can Monitor Your Every Scroll and Click, located at
9                https://www.digitalinformationworld.com/2020/02/top-brands-and-websites-
10               can-monitor-your-every-scroll-and-click.html
11   17.     In sum, Defendant illegally tapped, made an unauthorized connection to, and
12           intercepted Plaintiff’s and Class Members’ electronic communications through
13           visits to Defendant’s website, causing injuries, including violations of Plaintiff’s
14           and Class Members’ substantive legal privacy rights under the Wiretap Act and
15           CIPA.
16   18.     Plaintiff makes these allegations on information and belief, with the exception of
17           those allegations that pertain to Plaintiff, or to Plaintiff’s counsel, which Plaintiff
18           alleges on personal knowledge.
19   19.     Unless otherwise stated, all the conduct engaged in by Defendant took place in
20           California.
21   20.     All violations by Defendant were knowing, willful, and intentional, and
22           Defendant did not maintain procedures reasonably adapted to avoid any such
23           violation.
24   21.     Unless otherwise indicated, the use of Defendant’s name in this Complaint
25           includes all agents, employees, officers, members, directors, heirs, successors,
26           assigns, principals, trustees, sureties, subrogees, representatives, and insurers of
27           the named Defendant.

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     Class Action Complaint
 Case 3:22-cv-02030-MMA-WVG Document 1 Filed 12/22/22 PageID.7 Page 7 of 20



1                                              PARTIES
2    22.     Plaintiff is a natural person and resident of the State of California and the County
3            of San Diego.
4    23.     Defendant is a Delaware entity with its principal place of business located in
5            California.
6    24.     At all times relevant herein Defendant conducted business in the State of
7            California, in the County of San Diego, within this judicial district.
8                                      JURISDICTION & VENUE
9    25.     Jurisdiction of this Court is proper pursuant to 28 U.S.C. § 1331 because this
10           action arises out of Defendant’s violations of the Wiretap Act, 18 U.S.C. §2510
11           et seq.
12   26.     Because Defendant conducts business within the State of California, personal
13           jurisdiction is established.
14   27.     Venue is proper pursuant to 28 U.S.C. § 1391 for the following reasons: (i) the
15           conduct complained of herein occurred within this judicial district; and (ii)
16           Defendant conducted business within this judicial district at all times relevant.
17                                          FACTUAL ALLEGATIONS
18   28.     Defendant owns and operates the following website: www.hp.com.
19   29.     Over the last year and beyond, Plaintiff and Class Members visited Defendant’s
20           website. Members of the Subclass were in California at the time.
21   30.     During visits to the website, Plaintiff and Class Members, through computers and
22           mobile devices, transmitted electronic communications in the form of
23           instructions to Defendant’s computer servers utilized to operate the website. The
24           commands were sent as messages indicating to Defendant what content was
25           being viewed, clicked on, requested and/or inputted by Plaintiff and Class
26           Members.
27   31.     The communications sent by Plaintiff and Class Members to Defendant’s servers
28           included the following actions taken by Plaintiff and Class Members while on

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     Class Action Complaint
 Case 3:22-cv-02030-MMA-WVG Document 1 Filed 12/22/22 PageID.8 Page 8 of 20



1            Defendant’s website: mouse clicks and movements, keystrokes, search items,
2            information inputted by Plaintiff and Class Members, pages and content viewed
3            by Plaintiff and Class Members, scroll movements, and copy and paste actions.
4    32.     Defendant        responded   to   Plaintiff’s   and   Class   Members’   electronic
5            communications by supplying – through its website – the information requested
6            by Plaintiff and Class Members. Revitch v. New Moosejaw, LLC, U.S. Dist.
7            LEXIS 186955, at *3 (N.D. Cal. 2019) (“This series of requests and responses –
8            whether online or over the phone – is communication.”).
9    33.     Plaintiff and Class Members reasonably expected that visits to Defendant’s
10           website would be private, and that Defendant would not be intercepting or
11           tapping their communications with Defendant’s website, particularly because
12           Defendant failed to present Plaintiff and Class Members with a pop-up disclosure
13           or consent form alerting Plaintiff that the visits to the website were monitored
14           and recorded by Defendant.
15   34.     Plaintiff and Class Members reasonably believed their interactions with
16           Defendant’s website were private and would not be recorded or monitored for a
17           later playback by Defendant, or worse yet, monitored live while Plaintiff and
18           Class Members were on its website.
19   35.     Upon information and belief, over the last few years, Defendant has had
20           embedded within its website code and has continuously operated at least one
21           “session replay” script that was provided by a third party (“Session Replay
22           Provider”). The “session replay” spyware was always active and intercepted
23           every incoming data communication to Defendant’s website the moment a visitor
24           accessed the site.
25   36.     The Session Replay Provider that provided that “session replay” spyware to
26           Defendant is not a provider of wire or electronic communication services, or an
27           internet service provider.

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     Class Action Complaint
 Case 3:22-cv-02030-MMA-WVG Document 1 Filed 12/22/22 PageID.9 Page 9 of 20



1    37.     Defendant’s use of “session play” spyware was not instrumental or necessary to
2            the operation or function of Defendant’s website or business.
3    38.     Defendant’s use of “session replay” spyware to intercept Plaintiff’s electronic
4            communications was not instrumental or necessary to Defendant’s provision of
5            any of its goods or services. Rather, the level and detail of information
6            surreptitiously collected by Defendant indicates that the only purpose was to gain
7            an unlawful understanding of the habits and preferences of users to its websites,
8            and the information collected was solely for Defendant’s own benefit.
9    39.     Defendant’s use of a “session replay” spyware to intercept Plaintiff’s and Class
10           Members’ electronic communications did not facilitate, was not instrumental,
11           and was not incidental to the transmission of Plaintiff’s and Class Members’
12           electronic communications with Defendant’s website.
13   40.     During one or more of Plaintiff’s and Class Members’ visits to Defendant’s
14           website, Defendant utilized “session replay” spyware to intercept the substance
15           of Plaintiff’s and Class Members’ electronic communications intentionally and
16           contemporaneously with Defendant’s website, including mouse clicks and
17           movements, keystrokes, search terms, information inputted by Plaintiff, pages
18           and content viewed, scroll movements, and copy and paste actions. In other
19           words, Defendant tapped and made unauthorized connections to the electronic
20           communications that Plaintiff and Class Members made during visits to
21           Defendant’s website.
22   41.     The relevant facts regarding the full parameters of the communications
23           Defendant intercepted and the extent of how the connections occurred are solely
24           within the possession and control of Defendant.
25   42.     The “session replay” spyware utilized by Defendant is not a website cookie,
26           standard analytics tool, web beacon, or other similar technology.
27   43.     Unlike harmless collection of an internet protocol address, the data collected by

28           Defendant identified specific information inputted and content viewed, and thus

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     Class Action Complaint
Case 3:22-cv-02030-MMA-WVG Document 1 Filed 12/22/22 PageID.10 Page 10 of 20



1            revealed personalized and sensitive information about Plaintiff’s and Class
2            Member’s internet activity and habits.
3    44.     The electronic communications Defendant intentionally intercepted were content
4            generated through Plaintiff’s use, interaction, and communication with
5            Defendant’s website relating to the substance, purport, and/or meaning of
6            Plaintiff’s and Class Members’ communications with the website.
7    45.     The electronic communications Defendant intercepted were not generated
8            automatically and were not incidental to other consumer communications.
9    46.     The “session replay” spyware utilized by Defendant intercepted, tapped and
10           made unauthorized connections, which allowed Defendant to learn the contents
11           of communications of Plaintiff and Class Members in a manner that was
12           undetectable to them.
13   47.     Defendant then stored the communications and played them back and analyzed
14           them for business purposes.
15   48.     Defendant never sought consent and Plaintiff and Class Members never provided
16           consent for Defendant’s unauthorized access to their electronic communications.
17   49.     Plaintiff and Class Members did not have a reasonable opportunity to discover
18           Defendant’s unlawful and unauthorized connections because Defendant did not
19           disclose its actions or seek consent from Plaintiff or Class Members prior to
20           making the connections to the electronic communications through the “session
21           replay” spyware.
22                                           STANDING
23   50.     Defendant’s conduct constituted invasions of privacy because it disregarded
24           Plaintiff’s statutorily protected privacy rights, in violation of the Wiretap Act
25           and CIPA.
26   51.     Defendant caused Plaintiff to (1) suffer invasions of legally protected interests.
27           (2) The invasions were concrete because the injuries actually existed for Plaintiff
28           and continue to exist every time Plaintiff visits Defendant’s website. The privacy

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     Class Action Complaint
Case 3:22-cv-02030-MMA-WVG Document 1 Filed 12/22/22 PageID.11 Page 11 of 20



1            invasions suffered by Plaintiff and Class Members were real and not abstract.
2            Plaintiff and Class Members have a statutory right to be free from interceptions
3            of their communications. The interceptions Defendant performed were meant to
4            secretly spy on Plaintiff to learn more about Plaintiff’s behavior. Plaintiff and
5            Class Members were completely unaware they were being observed. Plaintiff’s
6            injuries were not divorced from concrete harm in that privacy has long been
7            protected in the form of trespassing laws and the Fourth Amendment of the U.S.
8            Constitution for example. Like here, an unreasonable search may not cause
9            actual physical injury, but is considered serious harm, nonetheless. (3) The
10           injuries here were particularized because they affected Plaintiff in personal and
11           individual ways. The injuries were individualized rather than collective since
12           Plaintiff’s unique communications were examined without consent during
13           different website visits on separate occasions. (4) Defendant’s past invasions
14           were actual and future invasions are imminent and will occur next time Plaintiff
15           visits Defendant’s website. Defendant continues to intercept communications
16           without consent. A favorable decision by this court would redress the injuries of
17           Plaintiff and each Class.
18                                           TOLLING
19   52.     Any applicable statute of limitations has been tolled by the “delayed discovery”
20           rule. Plaintiff did not know (and had no way of knowing) that Plaintiff’s
21           information was intercepted, because Defendant kept this information secret.
22                                CLASS ACTION ALLEGATIONS
23   53.     Plaintiff brings this lawsuit as a class action on behalf of Plaintiff and Class
24           Members of a proposed Class and Subclass under F.R.C.P. 23.
25   54.     Plaintiff proposes the following Class and Subclass, consisting of and defined as
26           follows:
27                Class
                  All persons in the United States whose communications were
28                intercepted by Defendant or its agents.
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     Class Action Complaint
Case 3:22-cv-02030-MMA-WVG Document 1 Filed 12/22/22 PageID.12 Page 12 of 20



1
                  Subclass
2
                  All persons in California whose communications were intercepted
3                 by Defendant or its agents.
4
     55.     Excluded from each Class are: (1) Defendant, any entity or division in which
5
             Defendant has a controlling interest, and its legal representatives, officers,
6
             directors, assigns, and successors; (2) the Judge to whom this case is assigned
7
             and the Judge’s staff; and (3) those persons who have suffered personal injuries
8
             as a result of the facts alleged herein. Plaintiff reserves the right to redefine each
9
             Class and to add subclasses as appropriate based on discovery and specific
10
             theories of liability.
11
     56.     Numerosity: The Class Members are so numerous that joinder of all members
12           would be unfeasible and impractical. The membership of each Class is currently
13           unknown to Plaintiff at this time; however, given that, on information and belief,
14           Defendant accessed millions of unique computers and mobile devices, it is
15           reasonable to presume that the members of each Class are so numerous that
16           joinder of all members is impracticable. The disposition of their claims in a class
17           action will provide substantial benefits to the parties and the Court.
18   57.     Commonality: There are common questions of law and fact as to Class Members
19           that predominate over questions affecting only individual members, including:
20              Whether Defendant intercepted any communications with Class
21                 Members;
22              Whether Defendant had, and continues to have, a policy during the
23                 relevant period of intercepting digital communications of Class
24                 Members;
25              Whether Defendant’s policy or practice of intercepting Class
26                 Members digital communications constitutes a violation of 18
27                 U.S.C. § 2520;
28              Whether Defendant’s policy or practice of intercepting Class
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     Class Action Complaint
Case 3:22-cv-02030-MMA-WVG Document 1 Filed 12/22/22 PageID.13 Page 13 of 20



1                  Members digital communications constitutes a violation of Cal.
2                  Penal Code § 631;
3               Whether Plaintiff and Class Members were aware of Defendant’s
4                  “session replay” spyware and had consented to its use.
5    58.     Typicality: Plaintiff’s and Class Members’ electronic communications were
6            intercepted, unlawfully tapped and recorded without consent or a warning of such
7            interception and recording, and thus, the injuries are also typical to Class
8            Members.
9    59.     Plaintiff and Class Members were harmed by the acts of Defendant in at least the
10           following ways: Defendant, either directly or through its agents, illegally
11           intercepted, tapped, recorded, and stored Plaintiff and Class Members’ electronic
12           communications, and other sensitive personal data from their digital devices with
13           others, and Defendant invading the privacy of Plaintiff and Class Members.
14           Plaintiff and Class Members were damaged thereby.
15   60.     Adequacy: Plaintiff is qualified to, and will, fairly and adequately protect the
16           interests of each Class Member with whom Plaintiff is similarly situated, as
17           demonstrated herein. Plaintiff acknowledges that Plaintiff has an obligation to
18           make known to the Court any relationships, conflicts, or differences with any
19           Class Member. Plaintiff’s attorneys, the proposed class counsel, are well versed
20           in the rules governing class action discovery, certification, and settlement. In
21           addition, Plaintiff’s attorneys, the proposed class counsel, are versed in the rules
22           governing class action discovery, certification, and settlement. The proposed
23           class counsel are experienced in handling claims involving consumer actions and
24           violations of the Wiretap Act and California Penal Code § 631. Plaintiff has
25           incurred, and throughout the duration of this action, will continue to incur costs
26           and attorneys’ fees that have been, are, and will be, necessarily expended for the
27           prosecution of this action for the substantial benefit of each Class Member.
28           Plaintiff and proposed class counsel are ready and prepared for that burden.

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     Class Action Complaint
Case 3:22-cv-02030-MMA-WVG Document 1 Filed 12/22/22 PageID.14 Page 14 of 20



1    61.     Predominance: Questions of law or fact common to the Class Members
2            predominate over any questions affecting only individual members of each Class.
3            The elements of the legal claims brought by Plaintiff and Class Members are
4            capable of proof at trial through evidence that is common to each Class rather
5            than individual to its members.
6    62.     Superiority: A class action is a superior method for the fair and efficient
7            adjudication of this controversy because:
8                a.     Class-wide damages are essential to induce Defendant to
9                comply with Federal and California law.
10               b.     Because of the relatively small size of the individual Class
11               Members’ claims, it is likely that only a few Class Members could
12               afford to seek legal redress for Defendant’s misconduct.
13               c.     Management of these claims is likely to present significantly
14               fewer difficulties than those presented in many class claims.
15               d.     Absent a class action, most Class Members would likely find
16               the cost of litigating their claims prohibitively high and would
17               therefore have no effective remedy at law.
18               e.     Class action treatment is manageable because it will permit a
19               large number of similarly situated persons to prosecute their
20               common claims in a single forum simultaneously, efficiently, and
21               without the unnecessary duplication of effort and expense that
22               numerous individual actions would endanger.
23               f.     Absent a class action, Class Members will continue to incur
24               damages, and Defendant’s misconduct will continue without
25               remedy.
26   63.     Plaintiff and the Class Members have suffered, and will continue to suffer, harm
27           and damages as a result of Defendant’s unlawful and wrongful conduct. A class

28           action is superior to other available methods because individual Class Members

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     Class Action Complaint
Case 3:22-cv-02030-MMA-WVG Document 1 Filed 12/22/22 PageID.15 Page 15 of 20



1            have no way of discovering that Defendant intercepted and recorded the Class
2            Member’s electronic communications without the Class Member’s knowledge or
3            consent.
4    64.     Each Class may also be certified because:
5                The prosecution of separate actions by individual Class Members
6                   would create a risk of inconsistent or varying adjudication with
7                   respect to individual Class Members, which would establish
8                   incompatible standards of conduct for Defendant;
9                The prosecution of separate actions by individual Class Members
10                  would create a risk of adjudications with respect to them that
11                  would, as a practical matter, be dispositive of the interests of other
12                  Class Members not parties to the adjudications, or substantially
13                  impair or impede their ability to protect their interests; and
14               Defendant has acted, or refused to act, on grounds generally
15                  applicable to each Class, thereby making appropriate final and
16                  injunctive relief with respect to the members of each Class as a
17                  whole.
18   65.     This suit seeks only damages and injunctive relief for recovery of economic
19           injury on behalf of Class Members and it expressly is not intended to request any
20           recovery for personal injury and claims related thereto.
21   66.     The joinder of Class Members is impractical and the disposition of their claims
22           in the Class action will provide substantial benefits both to the parties and to the
23           court. The Class Members can be identified through Defendant’s records.
24                                     FIRST CAUSE OF ACTION
25                                VIOLATION OF THE WIRETAP ACT
26                                      18 U.S.C. § 2510 ET SEQ.
27                               (By Plaintiff on behalf of the Class)
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     Class Action Complaint
Case 3:22-cv-02030-MMA-WVG Document 1 Filed 12/22/22 PageID.16 Page 16 of 20



1    67.     Plaintiff repeats, re-alleges, and incorporates by reference, all other paragraphs
2            of this complaint.
3    68.     The Wiretap Act, as amended by the Electronic Communications and Privacy
4            Act of 1986, prohibits the intentional interception of any wire, oral, or electronic
5            communication.
6    69.     Under 18 U.S.C. § 2520(a) there is a private right of action to any person whose
7            wire, oral, or electronic communication is intercepted.
8    70.     Defendant        intercepted   Plaintiff’s   and   Class   Members’      electronic
9            communications without consent when Plaintiff and Class Members navigated
10           through Defendant’s website.
11   71.     Plaintiff and Class Members were unaware Defendant was intercepting their
12           electronic communications and tracking their communications and interactions
13           with Defendant’s website.
14   72.     Defendant intentionally utilized technology – the “session replay” spyware – as
15           a means of intercepting and acquiring the contents of Plaintiff’s and Class
16           Members’ electronic communications, in violation of 18 U.S.C. § 2511.
17   73.     Plaintiff and Class Members are persons whose electronic communications were
18           intercepted by Defendant. As such, they are entitled to preliminary, equitable,
19           and declaratory relief, in addition to statutory damages of the greater of $10,000
20           or $100 per day for each violation, actual damages, punitive damages, and
21           reasonable attorneys’ fees and costs under 18 U.S.C. § 2520.
22                                    SECOND CAUSE OF ACTION
23    UNLAWFUL WIRETAPPING AND INTERCEPTION OF ELECTRONIC COMMUNICATION
24                                  CALIFORNIA PENAL CODE § 631
25                              (By Plaintiff on behalf of the Subclass)
26   74.     Plaintiff repeats, re-alleges, and incorporates by reference, all other paragraphs
27           of this complaint.
28   ///

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     Class Action Complaint
Case 3:22-cv-02030-MMA-WVG Document 1 Filed 12/22/22 PageID.17 Page 17 of 20



1    75.     Defendant intercepted components of Plaintiff’s and Class Members’ private
2            electronic communications and transmissions when Plaintiff and other Class
3            Members accessed Defendant’s website from within the State of California.
4    76.     Plaintiff and Class Members did not know Defendant was engaging in such
5            interception and therefore could not provide consent to have any part of their
6            private electronic communications intercepted by Defendant.
7    77.     Plaintiff and Class Members were completely unaware that Defendant had
8            intercepted and stored electronic communications and other personal data until
9            well after the fact and were therefore unable to consent.
10   78.     Defendant never advised Plaintiff or the other Class Members that any part of
11           this communications or their use of Defendant’s website would be tapped.
12   79.     To establish liability under section 631(a), a plaintiff need only establish that the
13           defendant, “by means of any machine, instrument, contrivance, or in any other
14           manner” does any of the following:
15                   Intentionally taps, or makes any unauthorized connection,
16                   whether physically, electrically, acoustically, inductively
                     or otherwise, with any telegraph or telephone wire, line,
17                   cable, or instrument, including the wire, line, cable, or
18                   instrument of any internal telephonic communication
                     system,
19
20                   Or
21                   Willfully and without the consent of all parties to the
22                   communication, or in any unauthorized manner, reads or
                     attempts to read or learn the contents or meaning of any
23                   message, report, or communication while the same is in
24                   transit or passing over any wire, line or cable or is being
                     sent from or received at any place within this state,
25
26                   Or
27
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     Class Action Complaint
Case 3:22-cv-02030-MMA-WVG Document 1 Filed 12/22/22 PageID.18 Page 18 of 20



1                    Uses, or attempts to use, in any manner, or for any
                     purpose, or to communicate in any way, any information
2
                     so obtained,
3
4                    Or
5                    Aids, agrees with, employs, or conspires with any person
6                    or persons to unlawfully do, or permit, or cause to be done
                     any of the acts or things mentioned above in this section.
7
8    80.     Section 631(a) is not limited to phone lines, but also applies to “new
9            technologies” such as computers, the Internet, and email. Matera v. Google Inc.,
10           2016 WL 8200619, at *21 (N.D. Cal. Aug. 12, 2016) (CIPA applies to “new
11           technologies” and must be construed broadly to effectuate its remedial purpose
12           of protecting privacy); Bradley v. Google, Inc., 2006 WL 3798134, at *5-6 (N.D.
13           Cal. Dec. 22, 2006) (CIPA governs “electronic communications”); In re
14           Facebook, Inc. Internet Tracking Litigation, --- F.3d --- 2020 WL 1807978 (9th
15           Cir. Apr. 9, 2020) (reversing dismissal of CIPA and common law privacy claims
16           based on Facebook’s collection of consumers’ Internet browsing history).
17   81.     Defendant’s use of the “session replay” spyware is a “machine, instrument,
18           contrivance, or . . . other manner” used to engage in the prohibited conduct at
19           issue here.
20   82.     By using the “session replay” spyware to track, record, and attempt to learn the
21           contents of Plaintiff’s and Class Members’ electronic communications,

22           Defendant intentionally tapped, electrically or otherwise, the lines of internet

23           communication of Plaintiff and Class Members on one end, and Defendant on

24           the other.

25   83.     By utilizing the “session replay” spyware, Defendant willfully and without

26           consent, read or attempted to read or learn the contents or meaning of electronic

27           communications of Plaintiff and putative Class Members, while the electronic

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     Class Action Complaint
Case 3:22-cv-02030-MMA-WVG Document 1 Filed 12/22/22 PageID.19 Page 19 of 20



1             communications were in transit or passing over a wire, line or cable or were being
2             sent from or received at a place in California.
3    84.      Plaintiff and Class Members did not consent to any of Defendant’s actions in
4             implementing these unauthorized connections, nor have Plaintiff or Class
5             Members consented to Defendant’s intentional access, interception, reading,
6             learning, recording, and collection of Plaintiff’s and Class Members’ electronic
7             communications.
8    85.      Plaintiff’s and the Class Members’ devices that Defendant accessed through its
9             unauthorized actions included their computers, smart phones, and tablets and/or
10            other electronic computing devices.
11   86.      Defendant violated Cal. Penal Code § 631 by knowingly accessing, and without
12            permission accessing, Plaintiff’s and Class Members’ electronic communications
13            through the use of the “session replay” spyware in order for Defendant to track,
14            understand, and attempt to learn the contents of Plaintiff’s and Class Members’
15            electronic communications generated by the use of Defendant’s website.
16   87.      Defendant violated Cal. Penal Code § 631 by knowingly and without permission
17            intercepting, wiretapping, accessing, taking and using Plaintiff’s and the Class
18            Members’ communications.
19   88.      Plaintiff and Class Members seek relief available under Cal. Penal Code § 637.2,
20            including $5,000 per violation.
21                                       PRAYER FOR RELIEF
22            WHEREFORE, Plaintiff and the Class Members pray that judgment be entered
23   against Defendant for the following:
24          Certify the Class and Subclass;
25          Appoint Plaintiff to serve as the Class Representative for the Class and Subclass;
26          Appoint Plaintiff’s Counsel as Class Counsel;
27          Preliminary and other equitable or declaratory relief under 18 U.S.C. §
28            2520(b)(1);

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     Class Action Complaint
Case 3:22-cv-02030-MMA-WVG Document 1 Filed 12/22/22 PageID.20 Page 20 of 20



1         The greater of $10,000 or $100 per day for each violation of 18 U.S.C. § 2510 et
2            seq pursuant to 18 U.S.C. § 2520(b)(2) and 18 U.S.C. § 2520(c)(2)(B);
3         Reasonable attorneys’ fees and costs pursuant to 18 U.S.C. § 2520(b)(3);
4         $5,000 to each Subclass Member pursuant to California Penal Code § 637.2.
5         Reasonable attorneys’ fees and costs pursuant to Cal. Code of Civ. Proc. §
6            1021.5;
7         Injunctive relief to prevent the further violations of California Penal Code § 631.
8         An award of costs to Plaintiff; and
9         Any other relief the Court may deem just and proper including interest.
10                                        TRIAL BY JURY
11           Pursuant to the Seventh Amendment to the Constitution of the United States of
12           America, Plaintiff and Class Members are entitled to, and demand, a trial by jury.
13                                                    Respectfully submitted,
14                                                    SWIGART LAW GROUP
15
     Date: December 22, 2022                          By: s/ Joshua Swigart
16                                                    Joshua B. Swigart, Esq.
17                                                    Josh@SwigartLawGroup.com
                                                      Attorneys for Plaintiff
18
19
                                                      LAW OFFICE OF DANIEL G. SHAY
20
21   Date: December 22, 2022                          By: s/ Daniel Shay
                                                      Daniel G. Shay, Esq.
22                                                    DanielShay@TCPAFDCPA.com
23                                                    Attorney for Plaintiff
24
25                                                    BEN TRAVIS LAW, APC
26   Date: December 22, 2022                          By: s/ Ben Travis
27                                                    Ben Travis, Esq.
                                                      ben@bentravislaw.com
28                                                    Attorney for Plaintiff
                                                 20
     Class Action Complaint
